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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                  CHAPTER 11
 AREU STUDIOS, LLC,
                                                  CASE NO. 20-71228-PMB
          Debtor.

                DEBTOR’S MONTHLY OPERATING REPORT
       FOR THE PERIOD FROM OCTOBER 29, 2020 TO NOVEMBER 30, 2020

       COMES NOW the above-named Debtor and files this Monthly Operating Report in

accordance with the Guidelines established by the United States Trustee and FRBP 2015.

       This 15th day of December, 2020.

                                           JONES & WALDEN LLC

                                           /s/ Cameron M. McCord
                                           Cameron M. McCord
                                           Georgia Bar No. 143065
                                           cmccord@joneswalden.com
                                           699 Piedmont Avenue, NE
                                           Atlanta, Georgia 30308
                                           (404) 564-9300 Telephone
                                           (404) 564-9301 Facsimile
                                           Attorney for Debtor



Debtor’s Address:
Areu Studios, LLC
3133 Continental Colony Parkway SW
Atlanta, GA 30331




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        Transaction Check
Acct       Date       No.         Description                Category            Debit      Credit    Balance
Bank of America Checking 6983

x 6983    10/29/2020        BEGINNING BALANCE                                                        $89,881.96
x 6983    10/29/2020        Paychex                 Payroll                    $15,016.06            $74,865.90
x 6983    10/29/2020        Go Daddy                Other Operating Expenses       $20.98            $74,844.92
x 6983    10/29/2020        Logmein                 Other Operating Expenses     $315.00             $74,529.92
x 6983    10/29/2020        Adobe Acropro           Other Operating Expenses       $67.96            $74,461.96
x 6983    10/29/2020        Adobe Creative          Other Operating Expenses       $52.99            $74,408.97
x 6983    10/29/2020        Prestige Design         Other Operating Expenses    $1,101.60            $73,307.37
x 6983    10/29/2020 1268   H. Media Collective     Other Operating Expenses     $750.00             $72,557.37
                            Deposit (Enterprise
x 6983    10/30/2020        Rent‐a‐Car)             Other Receipts                             65.19 $72,622.56
x 6983    10/30/2020        Adobe Acropro           Other Operating Expenses      $14.99             $72,607.57

x 6983    10/30/2020        Enterprise Rent‐a‐Car   Travel/Entertainment        $1,224.67            $71,382.90
x 6983    10/30/2020        Amazon                  Other Operating Expenses     $252.16             $71,130.74
x 6983    10/30/2020        Subway                  Other Operating Expenses       $35.40            $71,095.34
x 6983    10/30/2020        Postmates               Other Operating Expenses        $4.26            $71,091.08
x 6983    10/30/2020        Postmates               Other Operating Expenses       $20.95            $71,070.13
x 6983     11/2/2020        Go Daddy                Other Operating Expenses       $49.96            $71,020.17
x 6983     11/2/2020        Go Daddy                Other Operating Expenses       $15.99            $71,004.18
x 6983     11/2/2020        Doordash                Other Operating Expenses       $36.93            $70,967.25
x 6983     11/2/2020        Doordash                Other Operating Expenses        $8.63            $70,958.62
x 6983     11/2/2020        Doordash                Other Operating Expenses       $29.99            $70,928.63
x 6983     11/2/2020        Postmates               Other Operating Expenses       $36.77            $70,891.86
x 6983     11/2/2020        Amazon                  Other Operating Expenses       $30.68            $70,861.18
x 6983     11/2/2020        Amazon                  Other Operating Expenses       $31.79            $70,829.39
x 6983     11/2/2020        Postmates               Other Operating Expenses        $4.00            $70,825.39
x 6983     11/2/2020   1270 Biz Card, Inc.          Other Operating Expenses     $600.00             $70,225.39
x 6983     11/3/2020        Go Daddy                Other Operating Expenses       $20.98            $70,204.41
x 6983     11/3/2020        Amazon                  Other Operating Expenses     $164.55             $70,039.86
x 6983     11/3/2020        Amazon                  Other Operating Expenses       $10.59            $70,029.27
x 6983     11/3/2020        Amazon                  Other Operating Expenses       $34.95            $69,994.32
x 6983     11/3/2020        Amazon                  Other Operating Expenses       $84.78            $69,909.54
x 6983     11/3/2020        Amazon                  Other Operating Expenses     $307.38             $69,602.16
x 6983     11/4/2020        Go Daddy                Other Operating Expenses       $20.98            $69,581.18
x 6983     11/4/2020        Amazon                  Other Operating Expenses       $36.02            $69,545.16
x 6983     11/5/2020        Humana Inc.             Insurance                   $6,540.05            $63,005.11
x 6983     11/6/2020        Go Daddy                Other Operating Expenses       $21.98            $62,983.13
x 6983     11/6/2020        Doordash                Other Operating Expenses       $38.50            $62,944.63
x 6983     11/6/2020        Doordash                Other Operating Expenses       $75.11            $62,869.52
                            ACHMA VISB (guard
x 6983     11/9/2020        house phone)            Utilities                    $211.25             $62,658.27
x 6983     11/9/2020        Go Daddy                Other Operating Expenses      $49.95             $62,608.32
x 6983     11/9/2020        Go Daddy                Other Operating Expenses      $16.98             $62,591.34
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x 6983     11/9/2020        Amazon                    Other Operating Expenses      $64.62           $62,526.72
x 6983     11/9/2020        Amazon                    Other Operating Expenses     $222.60           $62,304.12
x 6983     11/9/2020        UberConference            Telephone                    $240.00           $62,064.12
x 6983     11/9/2020        Doordash                  Other Operating Expenses      $44.67           $62,019.45
                            AT&T (employee
x 6983    11/10/2020        phone)                    Telephone                     $439.07          $61,580.38
x 6983    11/10/2020        Amazon                    Other Operating Expenses      $111.04          $61,469.34
x 6983    11/12/2020        Paychex                   Payroll                    $14,469.08          $47,000.26
x 6983    11/12/2020        Georgia Power Co.         Utilities                  $10,095.84          $36,904.42
x 6983    11/12/2020        Georgia Power Co.         Utilities                   $6,632.60          $30,271.82
x 6983    11/12/2020        Georgia Power Co.         Utilities                   $2,874.13          $27,397.69
x 6983    11/12/2020        Georgia Power Co.         Utilities                   $1,172.06          $26,225.63
x 6983    11/12/2020        Georgia Power Co.         Utilities                     $173.67          $26,051.96
x 6983    11/12/2020        Go Daddy                  Other Operating Expenses       $27.97          $26,023.99
x 6983    11/12/2020        Doordash                  Other Operating Expenses       $20.30          $26,003.69

x 6983    11/13/2020        City of Atlanta (water)   Utilities                   $1,414.73          $24,588.96
x 6983    11/13/2020        Gas South                 Utilities                    $932.38           $23,656.58
x 6983    11/16/2020        Go Daddy                  Other Operating Expenses       $27.97          $23,628.61
x 6983    11/16/2020        Go Daddy                  Other Operating Expenses       $15.99          $23,612.62
x 6983    11/16/2020        Amazon                    Other Operating Expenses       $12.99          $23,599.63
x 6983    11/17/2020        AT&T (internet)           Utilities                   $2,100.00          $21,499.63

x 6983    11/17/2020        AT&T (office phones)      Telephone                    $750.00           $20,749.63
x 6983    11/17/2020        Adobe Acropro             Other Operating Expenses       $14.99          $20,734.64
x 6983    11/17/2020   1279 Rinehart Security         Repairs & Maintenance       $7,500.00          $13,234.64
x 6983    11/18/2020        Go Daddy                  Other Operating Expenses       $60.94          $13,173.70
x 6983    11/18/2020        Amazon                    Other Operating Expenses     $230.01           $12,943.69
                            Transfer (empense
x 6983    11/19/2020        reimbursement)            Repairs & Maintenance        $161.05           $12,782.64
x 6983    11/19/2020        Paychex (fee)             Other Operating Expenses     $108.90           $12,673.74
x 6983    11/20/2020        Go Daddy                  Other Operating Expenses      $15.99           $12,657.75
x 6983    11/20/2020        Bank Charges              Bank Charges                   $1.00           $12,656.75
x 6983    11/23/2020        Go Daddy                  Other Operating Expenses      $31.98           $12,624.77
x 6983    11/23/2020        Apple                     Other Operating Expenses       $9.99           $12,614.78
x 6983    11/23/2020        Amazon                    Other Operating Expenses      $12.99           $12,601.79
x 6983    11/23/2020        Amazon                    Other Operating Expenses       $3.99           $12,597.80
                            Transfer (expense
x 6983    11/24/2020        reimbursement)            Repairs & Maintenance        $644.99           $11,952.81
x 6983    11/24/2020        Go Daddy                  Other Operating Expenses       $4.99           $11,947.82
x 6983    11/25/2020        Dropbox                   Office Supplies               $75.00           $11,872.82
x 6983    11/30/2020        Uline                     Repairs & Maintenance        $940.85           $10,931.97
x 6983    11/30/2020        Go Daddy                  Other Operating Expenses      $20.98           $10,910.99
x 6983    11/30/2020        Go Daddy                  Other Operating Expenses      $19.98           $10,891.01
x 6983    11/30/2020        Logmein                   Other Operating Expenses     $315.00           $10,576.01
x 6983    11/30/2020        Adobe Creative            Other Operating Expenses      $52.99           $10,523.02
x 6983    11/30/2020        Adobe Acropro             Other Operating Expenses      $67.96           $10,455.06
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x 6983    11/30/2020    Adobe Acropro         Other Operating Expenses        $14.99             $10,440.07
x 6983    11/30/2020    Bank Charges          Bank Charges                    $35.00             $10,405.07
                                                                          $79,542.08    $65.19

                                         6983 Cash Sales                                 $0.00
                                              Accounts Receivable                        $0.00
                                              Other Receipts                            $65.19
                                              6983 RECEIPTS                             $65.19

                                              Advertising                      $0.00
                                              Bank Charges                    $36.00
                                              Contract Labor                   $0.00
                                              Fixed Asset Payments             $0.00
                                              Insurance                    $6,540.05
                                              Inventory Payments               $0.00
                                              Leases                           $0.00
                                              Manufacturing Supplies           $0.00
                                              Office Supplies                 $75.00
                                              Payroll                     $29,485.14
                                              Professional Fees                $0.00
                                              Rent                             $0.00
                                              Repairs & Maintenance        $9,246.89
                                              Secured Creditor Payments        $0.00
                                              Taxes ‐ Payroll                  $0.00
                                              Taxes ‐ Sales & Use              $0.00
                                              Taxes ‐ Other                    $0.00
                                              Telephone                    $1,429.07
                                              Travel/Entertainment         $1,224.67
                                              UST Quarterly Fees               $0.00
                                              Utilities                   $25,606.66
                                              Vehicle Expenses                 $0.00
                                              Other Operating Expenses     $5,898.60
                                              6983 DISBURSEMENTS          $79,542.08
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        Transaction
Acct       Date                 Description                 Category           Debit     Credit         Balance
Bank of America Checking 6559

x 6559    10/29/2020       BEGINNING BALANCE                                                        $       0.17
                                                                                 $0.00      $0.00

                                              6559 Cash Sales                               $0.00
                                                   Accounts Receivable                      $0.00
                                                   Other Receipts                           $0.00
                                                   6559 RECEIPTS                            $0.00

                                                   Advertising                   $0.00
                                                   Bank Charges                  $0.00
                                                   Contract Labor                $0.00
                                                   Fixed Asset Payments          $0.00
                                                   Insurance                     $0.00
                                                   Inventory Payments            $0.00
                                                   Leases                        $0.00
                                                   Manufacturing Supplies        $0.00
                                                   Office Supplies               $0.00
                                                   Payroll                       $0.00
                                                   Professional Fees             $0.00
                                                   Rent                          $0.00
                                                   Repairs & Maintenance         $0.00
                                                   Secured Creditor Payments     $0.00
                                                   Taxes ‐ Payroll               $0.00
                                                   Taxes ‐ Sales & Use           $0.00
                                                   Taxes ‐ Other                 $0.00
                                                   Telephone                     $0.00
                                                   Travel/Entertainment          $0.00
                                                   UST Quarterly Fees            $0.00
                                                   Utilities                     $0.00
                                                   Vehicle Expenses              $0.00
                                                   Other Operating Expenses      $0.00
                                                   6559 DISBURSEMENTS            $0.00
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                                CUMULATIVE BEGINNING BALANCE          $89,882.13
                                                       Cash Sales          $0.00
                                                                AR         $0.00
                                                            Other         $65.19
                                   CUMULATIVE TOTAL RECEIPTS              $65.19
                                        TOTAL FUNDS AVAILABLE         $89,947.32
                                                      Advertising          $0.00
                                                    Bank Charges          $36.00
                                                  Contract Labor           $0.00
                                           Fixed Asset Payments            $0.00
                                                        Insurance      $6,540.05
                                             Inventory Payments            $0.00
                                                           Leases          $0.00
                                         Manufacturing Supplies            $0.00
                                                  Office Supplies         $75.00
                                                           Payroll    $29,485.14
                                                Professional Fees          $0.00
                                                             Rent          $0.00
                                          Repairs & Maintenance        $9,246.89
                                      Secured Creditor Payments            $0.00
                                                   Taxes ‐ Payroll         $0.00
                                              Taxes ‐ Sales & Use          $0.00
                                                    Taxes ‐ Other          $0.00
                                                       Telephone       $1,429.07
                                           Travel/Entertainment        $1,224.67
                                              UST Quarterly Fees           $0.00
                                                          Utilities   $25,606.66
                                                Vehicle Expenses           $0.00
                                       Other Operating Expenses        $5,898.60
                              CUMULATIVE TOTAL DISBURSEMENTS          $79,542.08
                                  CUMULATIVE ENDING BALANCE           $10,405.24
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                MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                             Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                               Cumulative
        Description                                  Current Month            Petition to Date

Enterprise Rent-A-Car                              $65.19                   $65.19




TOTAL OTHER RECEIPTS                              $65.19
                                                  ________________          $65.19
                                                                            _________________

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties
directors, related corporations, etc.). Please describe below:

                             Source
 Loan Amount                of Funds                     Purpose                      Repayment Schedule
                                                  ___________________                __________________




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line
5W.
                                                                           Cumulative
         Description                               Current Month            Petition to Date
See attached




TOTAL OTHER DISBURSEMENTS                         $5,898.60
                                                  ______________            $5,898.60
                                                                            ________________




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




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OTHER DISBURSEMENTS
                                                                 Cumulative
Description                                   Current Month      Petition to Date
Adobe Acropro                                          $180.89             $180.89
Adobe Creative                                         $105.98             $105.98
Amazon                                               $1,611.14           $1,611.14
Apple                                                    $9.99               $9.99
Biz Card, Inc.                                         $600.00             $600.00
Doordash                                               $254.13             $254.13
Go Daddy                                               $444.59             $444.59
H. Media Collective                                    $750.00             $750.00
Logmein                                                $630.00             $630.00
Paychex (fee)                                          $108.90             $108.90
Postmates                                               $65.98              $65.98
Prestige Design                                      $1,101.60           $1,101.60
Subway                                                  $35.40              $35.40
                                                     $5,898.60           $5,898.60
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                                                ATTACHMENT 1

            MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor: Areu Studios, LLC                        Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                        Period ending 11/30/2020

ACCOUNTS RECEIVABLE AT PETITION DATE: $0.00

                           ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

          Beginning of Month Balance                           $ 0.00               (a)
            PLUS: Current Month New Billings                     0.00
            MINUS: Collection During the Month                 $ 0.00               (b)
            PLUS/MINUS: Adjustments or Writeoffs               $ 0.00                *
          End of Month Balance                                 $ 0.00               (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:



                         POST PETITION ACCOUNTS RECEIVABLE AGING
                      (Show the total for each aging category for all accounts receivable)

          0-30 Days            31-60 Days       61-90 Days       Over 90Days Total

      $                    $                $                   $                    $             (c)


For any receivables in the “ Over 90 Days” category, please provide the following:

                           Receivable
   Customer                 Date            Status (Collection efforts taken, estimate of collectibility,
                                            write-off, disputed account, etc.)




(a)This number is carried forward from last month’ s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “ Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.


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                                    ATTACHMENT 2
                 MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: Areu Studios, LLC                                 Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                             Period ending 11/30/2020

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include
amounts owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached
provided all information requested below is included.
                                     POST-PETITION ACCOUNTS PAYABLE
  Date               Days
 Incurred         Outstanding            Vendor                   Description                             Amount




TOTAL AMOUNT                                                                               $0.00                         (b)
☐ Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
  documentation.

            ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                              $                     (a)
  PLUS: New Indebtedness Incurred This Month $
  MINUS: Amount Paid on Post Petition,
          Accounts Payable This Month        $
  PLUS/MINUS: Adjustments                    $                     *
Ending Month Balance                         $                    (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                       SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
Program prior to completing this section).
                                                                        Number             Total
                                    Date                                of Post            Amount of
Secured                             Payment           Amount            Petition           Post Petition
Creditor/                           Due This          Paid This         Payments           Payments
Lessor                              Month             Month             Delinquent         Delinquent




TOTAL                                                                       (d)
(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).


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                                 INVENTORY AND FIXED ASSETS REPORT

Name of Debtor: Areu Studios, LLC                              Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                           Period ending 11/30/2020

                                             INVENTORY REPORT N/A

INVENTORY BALANCE AT PETITION DATE:                            $ 0.00
INVENTORY RECONCILIATION:
      Inventory Balance at Beginning of Month                  $                                      (a)
        PLUS: Inventory Purchased During Month                 $
        MINUS: Inventory Used or Sold                          $
        PLUS/MINUS: Adjustments or Write-downs                 $                                      *
      Inventory on Hand at End of Month                        $

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                              INVENTORY AGING

         Less than 6       6 months to       Greater than      Considered
         months old        2 years old       2 years old       Obsolete       Total Inventory

                  %                   %                 %                 %      =              100%*

* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                             FIXED ASSET REPORT N/A

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                                            (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):



FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                    $                                 (a)(b)
        MINUS: Depreciation Expense                             $
        PLUS: New Purchases                                     $
        PLUS/MINUS: Adjustments or Write-downs                  $                                 *
Ending Monthly Balance                                          $

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:


(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

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                                               ATTACHMENT 4A

                MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: Areu Studios, LLC                            Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                         Period ending   11/30/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Bank of America                           BRANCH:

ACCOUNT NAME:          Areu Studios LLC                  ACCOUNT NUMBER: x 6983

PURPOSE OF ACCOUNT:                  OPERATING

        Ending Balance per Bank Statement                              $ 10,405.07
        Plus Total Amount of Outstanding Deposits                      $
        Minus Total Amount of Outstanding Checks and other debits      $                          *
        Minus Service Charges                                          $
        Ending Balance per Check Register                              $                          **(a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                 Reason for Cash Disbursement




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                           $________________Transferred to Payroll Account
                           $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: Areu Studios, LLC                      Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                   Period ending 11/30/2020

NAME OF BANK: Bank of America                         BRANCH:

ACCOUNT NAME: Areu Studios LLC

ACCOUNT NUMBER: x 6983

PURPOSE OF ACCOUNT:                    OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

           CHECK
DATE      NUMBER           PAYEE                    PURPOSE                         AMOUNT
See attached




TOTAL                                                                              $




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P.O. Box 15284
Wilmington, DE 19850
                                                                                                  Customer service information


                                                                                                  1.888.BUSINESS (1.888.287.4637)

                                                                                                  bankofamerica.com
  AREU STUDIOS LLC
                                                                                                  Bank of America, N.A.
  3133 CONTINENTAL COLONY PKWY SW
                                                                                                  P.O. Box 25118
  ATLANTA, GA 30331-3109                                                                          Tampa, FL 33622-5118




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for October 1, 2020 to October 31, 2020                                                     Account number:                         6983
AREU STUDIOS LLC

Account summary
Beginning balance on October 1, 2020                                      $146,449.26   # of deposits/credits: 6
Deposits and other credits                                                 406,143.42   # of withdrawals/debits: 143
Withdrawals and other debits                                              -377,054.29   # of items-previous cycle¹: 2
Checks                                                                    -104,376.26   # of days in cycle: 31
Service fees                                                                   -92.00   Average ledger balance: $165,317.91
Ending balance on October 31, 2020                                        $71,070.13    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 48 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: GA                                                                     Page 1 of 14
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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AREU STUDIOS LLC ! Account #        6983 ! October 1, 2020 to October 31, 2020




Deposits and other credits
Date        Description                                                                                        Amount




10/30/20    CHECKCARD 1029 ENTERPRISE RENT-A 770-5089971 GA 1541019030301811285                                  65.19

Total deposits and other credits                                                                    $406,143.42


Withdrawals and other debits
Date        Description                                                                                       Amount




                                                                                              continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                Amount




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AREU STUDIOS LLC ! Account #          6983 ! October 1, 2020 to October 31, 2020




Withdrawals and other debits - continued
Date        Description                                                                                                 Amount




10/29/20    PAYCHEX EIB    DES:INVOICE   ID:X89793200002185 INDN:AREU STUDIOS LLC            CO                     -15,016.06
            ID:3161124166 CCD
10/29/20    GO DADDY       DES:WEB ORDER ID:1927684607 INDN:Areu                   CO ID:1210002031                       -20.98
            CCD
Card account # XXXX XXXX XXXX 8719




                                                                                                        continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                Amount




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AREU STUDIOS LLC ! Account #      6983 ! October 1, 2020 to October 31, 2020




Withdrawals and other debits - continued
Date        Description                                                                                      Amount




10/29/20    CHECKCARD 1028 LOGMEIN*GoToMeeti logmein.com MA 55432860302200837630045                          -315.00
            RECURRING CKCD 5968 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/29/20    CHECKCARD 1029 ADOBE ACROPRO SUB 8004438158 CA 55310200303700855384933                             -67.96
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/29/20    CHECKCARD 1029 ADOBE CREATIVE CL 4085366000 CA 55310200303700858041654                             -52.99
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/29/20    CHECKCARD 1028 PRESTIGE DESIGN G 4042412211 GA 55310200303286091300032 CKCD                   -1,101.60
            5137 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/30/20    CHECKCARD 1029 ADOBE ACROPRO SUB 4085366000 CA 55310200303700858838372                            -14.99
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/30/20    CHECKCARD 1029 ENTERPRISE RENT-A 770-5089971 GA 15410190303018112854416 CKCD                  -1,224.67
            3405 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/30/20    CHECKCARD 1029 AMAZON.COM*2885Q0 AMZN.COM/BILLWA 55310200303083331147137                         -252.16
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
                                                                                             continued on the next page




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Withdrawals and other debits - continued
Date          Description                                                                                                                   Amount
10/30/20      CHECKCARD 1029 DOORDASH*SUBWAY 6506819470 CA 55429500304637670863800 CKCD                                                      -35.40
              5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/30/20      CHECKCARD 1029 POSTMATES TIP 8778877815 CA 55429500303637658922157 CKCD 5812                                                     -4.26
              XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
10/30/20      CHECKCARD 1029 POSTMATES 9BB80 K 8778877815 CA 55429500303637659210719 CKCD                                                     -20.95
              5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
Subtotal for card account # XXXX XXXX XXXX 8719                                                                                   -$9,491.58
Total withdrawals and other debits                                                                                              -$377,054.29


Checks
Date          Check #                                     Amount                     Date            Check #                                 Amount




10/29/20      1268                                       -750.00




                                                                                     Total checks                                -$104,376.26
                                                                                     Total # of checks                                            22
* There is a gap in sequential check numbers



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period                 Total year-to-date

  Total Overdraft fees                                $0.00                                 $0.00

  Total NSF: Returned Item fees                       $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

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AREU STUDIOS LLC ! Account #                 6983 ! October 1, 2020 to October 31, 2020



Service fees - continued
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 09/30/20. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
       $2,500+ in new net purchases on a linked Business credit card

       $15,000+ average monthly balance in primary checking account

       $35,000+ combined average monthly balance in linked business accounts

       active use of Bank of America Merchant Services

       active use of Payroll Services

       enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship Rewards
please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                             Amount




10/29/20       Prfd Rwds for Bus-Wire Fee Waiver of $15                                                                              -0.00

Total service fees                                                                                                              -$92.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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Daily ledger balances
Date                            Balance ($)     Date                   Balance($)   Date                Balance ($)

10/01                          108,607.99       10/13                196,239.18     10/22             130,011.32
10/02                          260,308.86       10/14                180,659.96     10/23             129,543.09
10/05                          248,977.47       10/15                177,470.40     10/26             123,002.24
10/06                          219,399.49       10/16                155,683.19     10/27             121,839.63
10/07                          216,789.04       10/19                147,064.50     10/28              89,881.96
10/08                          211,995.52       10/20                136,042.73     10/29              72,557.37
10/09                          207,495.52       10/21                135,588.65     10/30              71,070.13




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AREU STUDIOS LLC ! Account #          6983 ! October 1, 2020 to October 31, 2020


Check images
Account number:                6983




Check number: 1268 ! Amount: $750.00




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AREU STUDIOS LLC ! Account #          6983 ! October 1, 2020 to October 31, 2020


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Account number:                6983




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P.O. Box 15284
Wilmington, DE 19850
                                                                                                  Customer service information


                                                                                                  1.888.BUSINESS (1.888.287.4637)

                                                                                                  bankofamerica.com
  AREU STUDIOS LLC
                                                                                                  Bank of America, N.A.
  3133 CONTINENTAL COLONY PKWY SW
                                                                                                  P.O. Box 25118
  ATLANTA, GA 30331-3109                                                                          Tampa, FL 33622-5118




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for November 1, 2020 to November 30, 2020                                                   Account number:                         6983
AREU STUDIOS LLC

Account summary
Beginning balance on November 1, 2020                                      $71,070.13   # of deposits/credits: 0
Deposits and other credits                                                       0.00   # of withdrawals/debits: 69
Withdrawals and other debits                                               -52,529.06   # of items-previous cycle¹: 23
Checks                                                                      -8,100.00   # of days in cycle: 30
Service fees                                                                   -36.00   Average ledger balance: $33,624.16
Ending balance on November 30, 2020                                       $10,405.07    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 48 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: GA                                                                     Page 1 of 12
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Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    –   Tell us your name and account number.
    –   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    –   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

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investigation.

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unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
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                                                                                       Your checking account
AREU STUDIOS LLC | Account #           6983 | November 1, 2020 to November 30, 2020




Withdrawals and other debits
Date        Description                                                                                                    Amount
11/02/20    GO DADDY         DES:WEB ORDER ID:1928883727 INDN:Areu               CO ID:1210002031                           -49.96
            CCD
11/02/20    GO DADDY         DES:WEB ORDER ID:1928227707 INDN:Areu               CO ID:1210002031                            -15.99
            CCD
11/03/20    GO DADDY         DES:WEB ORDER ID:1929133777 INDN:Areu               CO ID:1210002031                            -20.98
            CCD
11/04/20    GO DADDY         DES:WEB ORDER ID:1929568457 INDN:Areu               CO ID:1210002031                            -20.98
            CCD
11/05/20    HUMANA, INC. DES:INS PYMT ID:721008425001721 INDN:008520                     CO                             -6,540.05
            ID:9040604802 PPD
11/06/20    GO DADDY         DES:WEB ORDER ID:1930279497 INDN:Areu               CO ID:1210002031                            -21.98
            CCD
11/09/20    ACHMA VISB     DES:BILL PYMNT ID:6156236 INDN:AREU BROS STUDIOS            CO                                  -211.25
            ID:0000751800 WEB
11/09/20    GO DADDY         DES:WEB ORDER ID:1930655597 INDN:Areu               CO ID:1210002031                           -49.95
            CCD
11/09/20    GO DADDY         DES:WEB ORDER ID:1931160977 INDN:Areu               CO ID:1210002031                            -16.98
            CCD
11/10/20    ATT        DES:Payment     ID:XXXXXXXXXCOL1N INDN:LIDIAM GONZALEZ           CO                                 -439.07
            ID:9864031005 WEB
11/12/20    PAYCHEX EIB    DES:INVOICE     ID:X89987900001661 INDN:AREU STUDIOS LLC           CO                      -14,469.08
            ID:3161124166 CCD
11/12/20    GPC           DES:GPC EBILL ID:1995951053GRB INDN:Areu Studios LLC        CO ID:1580257110                -10,095.84
            WEB
11/12/20    GPC           DES:GPC EBILL ID:0402153039GRB INDN:Areu Studios LLC        CO ID:1580257110                  -6,632.60
            WEB
11/12/20    GPC           DES:GPC EBILL ID:2271550079GRB INDN:Areu Studios LLC        CO ID:1580257110                  -2,874.13
            WEB
11/12/20    GPC           DES:GPC EBILL ID:0089488022GRB INDN:Areu Studios LLC        CO ID:1580257110                  -1,172.06
            WEB
11/12/20    GPC           DES:GPC EBILL ID:0885352045GRB INDN:Areu Studios LLC        CO ID:1580257110                     -173.67
            WEB
11/12/20    GO DADDY         DES:WEB ORDER ID:1931767317 INDN:Areu               CO ID:1210002031                            -27.97
            CCD
                                                                                                           continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                                Amount
11/13/20    CITY OF ATL - WA DES:4045460311 ID:2M3IEFQQHQ93IDJ INDN:GOOD DEED 317, LLC DBA CO                       -1,414.73
            ID:ZXXXXXXXXX PPD
11/13/20    GAS SOUTH      DES:8774724932 ID:2M3I6EY72NO0P39 INDN:LLC TPS - AREU STUDIOS CO                            -932.38
            ID:3203608242 PPD
11/16/20    GO DADDY         DES:WEB ORDER ID:1933251617 INDN:Areu                CO ID:1210002031                       -27.97
            CCD
11/16/20    GO DADDY         DES:WEB ORDER ID:1932803927 INDN:Areu                CO ID:1210002031                       -15.99
            CCD
11/17/20    AT&T          Bill Payment                                                                              -2,100.00
11/17/20    AT&T          Bill Payment                                                                                 -750.00
11/18/20    GO DADDY         DES:WEB ORDER ID:1934036337 INDN:Areu                CO ID:1210002031                      -60.94
            CCD
11/19/20    TRANSFER AREU STUDIOS LLC:Mario Areu Confirmation# 1582722356                                              -161.05
11/19/20    PAYCHEX-OAB     DES:INVOICE          ID:90070400008103X INDN:AREU STUDIOS LLC    CO                        -108.90
            ID:1161124166 CCD
11/20/20    GO DADDY         DES:WEB ORDER ID:1934625067 INDN:Areu                CO ID:1210002031                       -15.99
            CCD
11/23/20    GO DADDY         DES:WEB ORDER ID:1935122107 INDN:Areu                CO ID:1210002031                       -31.98
            CCD
11/24/20    Online Banking Transfer Conf# b97cf4f76; Woode                                                             -644.99
11/24/20    GO DADDY         DES:WEB ORDER ID:1935795507 INDN:Areu                CO ID:1210002031                        -4.99
            CCD
11/30/20    ULINE         Bill Payment                                                                                 -940.85
11/30/20    GO DADDY         DES:WEB ORDER ID:1937410217 INDN:Areu                CO ID:1210002031                       -20.98
            CCD
11/30/20    GO DADDY         DES:WEB ORDER ID:1936924937 INDN:Areu                CO ID:1210002031                       -19.98
            CCD
Card account # XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1030 DOORDASH*MCDONALD 6506819470 CA 55429500305637769719599                                       -36.93
            CKCD 5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1030 DOORDASH*MCDONALD 6506819470 CA 55429500305637766642760                                        -8.63
            CKCD 5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1031 DOORDASH*CHICK-FI 6506819470 CA 55429500305637785620904 CKCD                                  -29.99
            5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1101 POSTMATES 9BB80 W 8778877815 CA 55429500306637910143631 CKCD                                  -36.77
            5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1101 AMZN MKTP US*287X AMZN.COM/BILLWA 55310200306083761760059                                     -30.68
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1101 AMZN MKTP US*288Q AMZN.COM/BILLWA 55310200307083758301825                                     -31.79
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/02/20    CHECKCARD 1101 POSTMATES TIP 8778877815 CA 55429500306637922580135 CKCD 5812                                  -4.00
            XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/03/20    CHECKCARD 1102 AMZN MKTP US*287F AMZN.COM/BILLWA 55310200307083310645354                                   -164.55
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/03/20    CHECKCARD 1102 AMZN MKTP US*288S AMZN.COM/BILLWA 55310200307083714938272                                     -10.59
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/03/20    CHECKCARD 1102 AMZN MKTP US*281G AMZN.COM/BILLWA 55310200307083703178468                                    -34.95
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/03/20    CHECKCARD 1102 AMZN MKTP US*285Y AMZN.COM/BILLWA 55310200307083310005666                                    -84.78
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
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                                                                                  Your checking account
AREU STUDIOS LLC | Account #       6983 | November 1, 2020 to November 30, 2020




Withdrawals and other debits - continued
Date        Description                                                                                  Amount
11/03/20    CHECKCARD 1103 AMZN Mktp US*282K Amzn.com/billWA 55432860308200198736898 CKCD                -307.38
            5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/04/20    CHECKCARD 1103 AMZN MKTP US*281G AMZN.COM/BILLWA 55310200308083345869374                      -36.02
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/06/20    CHECKCARD 1105 DOORDASH*SUBWAY 6506819470 CA 55429500310637248546376 CKCD                     -38.50
            5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/06/20    CHECKCARD 1106 DOORDASH*PAPA JOH 6506819470 CA 55429500311637346209447 CKCD                   -75.11
            5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/09/20    CHECKCARD 1107 AMZN MKTP US*2858 AMZN.COM/BILLWA 55310200312083382578445                      -64.62
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/09/20    CHECKCARD 1107 AMZ*KKW Beauty LL pay.amazon.coWA 55432860312200291277430 CKCD                -222.60
            5999 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/09/20    CHECKCARD 1108 UBERCONFERENCE 4158429989 CA 55429500313713364813671 CKCD                     -240.00
            4814 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/09/20    CHECKCARD 1109 DOORDASH*MCDONALD 6506819470 CA 55429500314637624457822                        -44.67
            CKCD 5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/10/20    CHECKCARD 1109 AMZN Mktp US*288W Amzn.com/billWA 55432860314200978469936 CKCD                -111.04
            5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/12/20    CHECKCARD 1110 DOORDASH*MCDONALD 6506819470 CA 55429500315637708162271                        -20.30
            CKCD 5812 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/16/20    CHECKCARD 1114 Amazon Prime*208B Amzn.com/billWA 55432860319200083435553                      -12.99
            RECURRING CKCD 5968 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/17/20    CHECKCARD 1116 ADOBE ACROPRO SUB 4085366000 CA 55310200321700513278699                        -14.99
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/18/20    CHECKCARD 1117 AMAZON.COM*201EZ0 AMZN.COM/BILLWA 55310200322083921559839                     -230.01
            CKCD 5942 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/23/20    CHECKCARD 1121 APPLE.COM/BILL 866-712-7753 CA 55432860326200020789709                          -9.99
            RECURRING CKCD 5735 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/23/20    CHECKCARD 1121 AMZN DIGITAL*XA64 888-802-3080 WA 55310200326083756115562 CKCD                 -12.99
            5818 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/23/20    CHECKCARD 1122 AMZN DIGITAL*A55J 888-802-3080 WA 55310200327083360775784 CKCD                  -3.99
            5818 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/25/20    CHECKCARD 1124 DROPBOX*D2DQY9QFY DB.TT/CCHELP DE 75418230329107873208241                      -75.00
            CKCD 4816 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/30/20    CHECKCARD 1128 LOGMEIN*GoToMeeti logmein.com MA 55432860333200053584994                      -315.00
            RECURRING CKCD 5968 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/30/20    CHECKCARD 1129 ADOBE CREATIVE CL 4085366000 CA 55310200334700551520379                        -52.99
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/30/20    CHECKCARD 1129 ADOBE ACROPRO SUB 8004438158 CA 55310200334700551874164                        -67.96
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
11/30/20    CHECKCARD 1129 ADOBE ACROPRO SUB 4085366000 CA 55310200334700551922989                        -14.99
            RECURRING CKCD 5734 XXXXXXXXXXXX8719 XXXX XXXX XXXX 8719
Subtotal for card account # XXXX XXXX XXXX 8719                                                     -$2,444.80
Total withdrawals and other debits                                                                 -$52,529.06




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Checks
Date          Check #                                       Amount                   Date            Check #                             Amount
11/02/20      1270                                         -600.00                   11/17/20        1279*                            -7,500.00
                                                                                     Total checks                                  -$8,100.00
                                                                                     Total # of checks                                         2
* There is a gap in sequential check numbers



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                 Total for this period               Total year-to-date

  Total Overdraft fees                                  $0.00                               $0.00

  Total NSF: Returned Item fees                        $35.00                               $70.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier’s coverage.

The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 10/30/20. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
       $2,500+ in new net purchases on a linked Business credit card

       $15,000+ average monthly balance in primary checking account

       $35,000+ combined average monthly balance in linked business accounts

       active use of Bank of America Merchant Services

       active use of Payroll Services

       enrolled in Preferred Rewards for Business

For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please call
1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                                   Amount

11/20/20       External transfer fee - 3 Day -     11/19/2020                                                                             -1.00

11/30/20       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 11-30                                                                              -35.00

Total service fees                                                                                                                    -$36.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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                                                                                          Your checking account
AREU STUDIOS LLC | Account #            6983 | November 1, 2020 to November 30, 2020




Daily ledger balances
Date                           Balance ($)   Date                            Balance($)    Date                Balance ($)

11/01                          71,070.13     11/10                         61,469.34       11/19               12,673.74
11/02                          70,225.39     11/12                         26,003.69       11/20               12,656.75
11/03                          69,602.16     11/13                         23,656.58       11/23               12,597.80
11/04                          69,545.16     11/16                         23,599.63       11/24               11,947.82
11/05                          63,005.11     11/17                         13,234.64       11/25               11,872.82
11/06                          62,869.52     11/18                         12,943.69       11/30               10,405.07
11/09                          62,019.45




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AREU STUDIOS LLC | Account #          6983 | November 1, 2020 to November 30, 2020


Check images
Account number:                 6983
Check number: 127              t: $600.00                     Check number: 1279 | Amount: $7,500.00




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Important Messages - Please Read
We want to make sure you stay up-to-date on changes, reminders, and other important details that
could impact you.

The information shown below lists changes that may apply to your Small Business checking and savings accounts
and when these changes will become effective. You will also see some changes to the options you have to avoid the
Monthly Fee on your accounts.

Account Changes                                                   Effective Date            What to Expect After the Changes Become Effective


Business Advantage Checking will become Business                 February 19, 2021   You will see the new name on your statements, in Mobile banking and in
Advantage Relationship Banking.                                                      Business Advantage 360, our small business online banking.


Business Advantage Relationship Banking                          Account statement To avoid the Monthly Fee, meet any ONE of the following requirements
                                                                  cycles on or after during each statement cycle:
The Monthly Fee of $29.95 will no longer be waived based on:      January 30, 2021 • Maintain a combined average monthly balance of $15,000 or more in
                                                                                       your linked Bank of America business deposit accounts. Previously, the
• $15,000 average monthly balance.                                                     combined average monthly balance requirement was $35,000.
• Active payroll services usage with Intuit or ADP Payroll                           • Qualify for and enroll in Preferred Rewards for Business (Footnote 2)
  Services (Footnote 1) beginning December 1, 2020.                                    (first four checking accounts per enrolled business).
• Spend $2,500 in new net purchases on a linked business
                                                                                     Please review the Business Schedule of Fees for the state in which you
  credit card.
                                                                                     opened your account for additional details about the ways to avoid the
• Active Bank of America Merchant Services account linked to
                                                                                     Monthly Fee at: bankofamerica.com/businessfeesataglance.
  a Bank of America settlement account beginning January 1,
  2021.


Business Fundamentals Checking will become Business              February 19, 2021   You will see the new name on your statements, in Mobile banking and in
Advantage Fundamentals Banking.                                                      Business Advantage 360, our small business online banking.



Business Advantage Fundamentals Banking                          Account statement Depending on the state in which your account was opened, the $16
                                                                  cycles on or after Monthly Fee may be a decrease, increase or remain unchanged.
Monthly Fee will be $16 in all states. (Previously the monthly    January 30, 2021 To avoid the Monthly Fee, meet any ONE of the following
fee varied by state).                                                                requirements during each statement cycle:
                                                                                     • Maintain a combined average monthly balance of $5,000 or more in
The Monthly Fee will no longer be waived based on:                                     your linked Bank of America deposit accounts. Previously the
                                                                                       combined average monthly balance requirement was $15,000.
• $3,000 minimum daily balance.                                                      • Spend $250 or more in new net purchases on a linked business debit
• $5,000 average monthly balance.                                                      card.
• Spend $250 or more in new net purchases on a linked                                • Qualify for and enroll in Preferred Rewards for Business (first four
  business credit card.                                                                checking accounts per enrolled business).
                                                                                     Please review the Business Schedule of Fees for the state in which you
                                                                                     opened your account for additional details about the ways to avoid the
                                                                                     Monthly Fee at: bankofamerica.com/businessfeesataglance.


Business Investment Account                                      February 19, 2021   If you already have a Business Investment Account linked and included
                                                                                     in your Business Advantage Fundamentals Banking relationship before
The Monthly Fee of $5 will no longer be waived by being                              February 19, 2021, it will remain and will not receive a Monthly Fee
linked and included in a Business Advantage Fundamentals                             while included.
Banking relationship.
                                                                                     Note: Business Investment Accounts can be linked to your Business
                                                                                     Advantage Fundamentals Banking relationship to help meet the
                                                                                     combined balance requirement to avoid the Monthly Fee.




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Excess Transactions Fee and Deposited Item Fee                Account statement For more information about any fees that may apply to business
                                                               cycles on or after accounts, review the Business Schedule of Fees for the state in which
These fees will no longer apply to deposits made using Remote January 30, 2021 you opened your account at bankofamerica.com/businessfeesataglance.
Deposit Online, Mobile Check Deposit, or at a Bank of America
ATM.


Business Advantage Savings                                    Account statement To avoid the Monthly Fee, meet any ONE of the following requirements
                                                               cycles on or after during each statement cycle:
The Monthly Fee is decreasing from $15 to $10.                 January 30, 2021
                                                                                  • Maintain a minimum daily balance of $2,500 or more in your account.
                                                                                    Previously, the minimum daily balance was $5,000.
                                                                                  • Include in your Business Advantage Relationship Banking solution (one
                                                                                    per checking solution).
                                                                                  • Qualify for and enroll in Preferred Rewards for Business (first four
                                                                                    savings accounts, per enrolled business).

We are here to help
For more information about these changes and other fees that may apply to your accounts, visit your nearby financial center or review the
Business Schedule of Fees for the state in which you opened your account at bankofamerica.com/businessfeesataglance.
Please let us know if you have any questions about these changes or would like to discuss how you may be able to reduce or waive some of
these fees by converting your account to another account type. You can stop by a financial center, make an appointment at
bankofamerica.com/bizappointment, or give us a call at the number listed on this statement.
En los próximos meses, verá cambios en algunos cargos por servicios que podrían aplicarse a sus cuentas de cheques, de ahorros y de
Certificados de Depósito (CD) para Pequeñas Empresas. Antes de que entren en vigencia, nos gustaría explicarle qué cargos cambiarán y
cuándo lo harán, y también informarle los pasos que puede tomar para evitar algunos de ellos.
Para obtener más información, visite un centro financiero de Bank of America.
Footnotes are spelled out so the text can be translated by vision disability screen reader programs.
(Footnote 1) Intuit and the Intuit logo are registered trademarks of Intuit Inc., used under license. ADP and the ADP logo are registered
trademarks of ADP, LLC, used under license. Bank of America does not deliver and is not responsible for the products, services or
performance of Intuit Inc. or ADP, LLC. Internet access may be required. Internet service provider fees may apply. Other bank fees may apply.
See the Business Schedule of Fees available at bankofamerica.com/businessfeesataglance for details. Bank of America and/or its affiliates or
service providers may receive compensation from third parties for clients' use of their services.
(Footnote 2) The Preferred Rewards for Business program is only available to Small Business, Merrill Small Business, and Bank of America
Private Bank® Small Business clients. Other categories of clients, such as those commonly referred to as Business Banking, Global Commercial
Banking, Global Corporate Investment Banking, or Institutional clients are not eligible to participate in the program. Subject to certain
exceptions, eligible business checking accounts generally are any Small Business checking account and the following Analyzed checking
accounts: Full Analysis Business Checking or Analyzed Business Interest Checking. Clients in the eligible business categories may enroll in the
program. To enroll you must have an active, eligible Bank of America business checking account, and maintain a qualifying balance of at least
$20,000 for the Gold tier, $50,000 for the Platinum tier, or $100,000 for the Platinum Honors tier in your combined qualifying Bank of
America business deposit accounts (such as checking, savings, certificate of deposit) and/or your Merrill business investment accounts (such
as Working Capital Management Accounts, Business Investor Accounts, Delaware Business Accounts). The qualifying balance is calculated
based on either (i): your average daily balance for a three calendar month period, or (ii) your current combined balance, provided that you enroll
at the time you open your first eligible business checking account and satisfy the balance requirement at the end of at least one day within
thirty days of opening that account. Refer to your Business Schedule of Fees for details on accounts that qualify towards the combined
balance calculation and receive program benefits. Eligibility to enroll is generally available three or more business days after the end of the
calendar month in which you satisfy the requirements. Bank of America Private Bank® Small Business clients are automatically enrolled in the
program at the Platinum Honors tier as long as you maintain your Bank of America Private Bank® relationship. Once you are no longer a client
of the Private Bank, your enrollment in Preferred Rewards for Business will end and the benefits from enrollment will no longer be provided.
You can continue to receive Preferred Rewards for Business benefits if you are eligible for the program and you take action to enroll. Benefits
become effective within 30 days of your enrollment, or for new accounts within 30 days of account opening, unless we indicate otherwise.
Certain benefits may be available without enrolling in the program if you satisfy balance and other requirements.




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                                               ATTACHMENT 4A

                MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: Areu Studios, LLC                            Case Number: 20-71228-pmb

Reporting Period beginning 10/29/2020                         Period ending     11/30/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Bank of America                           BRANCH:

ACCOUNT NAME: Areu Studios, LLC                          ACCOUNT NUMBER:             x 6559

PURPOSE OF ACCOUNT:                  OPERATING

        Ending Balance per Bank Statement                              $ 0.17
        Plus Total Amount of Outstanding Deposits                      $
        Minus Total Amount of Outstanding Checks and other debits      $                          *
        Minus Service Charges                                          $
        Ending Balance per Check Register                              $                          **(a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                   Reason for Cash Disbursement




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                           $________________Transferred to Payroll Account
                           $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: Areu Studios, LLC                      Case Number:      20-71228-pmb

Reporting Period beginning 10/29/2020                   Period ending 11/30/2020

NAME OF BANK: Bank of America                         BRANCH:

ACCOUNT NAME: Areu Studios, LLC

ACCOUNT NUMBER: x 6559

PURPOSE OF ACCOUNT:                    OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER           PAYEE                    PURPOSE                         AMOUNT
See attached




TOTAL                                                                              $




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P.O. Box 15284
Wilmington, DE 19850
                                                                                                 Customer service information


                                                                                                 1.888.BUSINESS (1.888.287.4637)

                                                                                                 bankofamerica.com
  AREU STUDIOS, LLC
                                                                                                 Bank of America, N.A.
  3133 CONTINENTAL COLONY PKWY SW
                                                                                                 P.O. Box 25118
  ATLANTA, GA 30331-3109                                                                         Tampa, FL 33622-5118




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for October 1, 2020 to October 31, 2020                                                    Account number:                         6559
AREU STUDIOS, LLC

Account summary
Beginning balance on October 1, 2020                                           $0.17   # of deposits/credits: 0
Deposits and other credits                                                      0.00   # of withdrawals/debits: 0
Withdrawals and other debits                                                   -0.00   # of items-previous cycle¹: 0
Checks                                                                         -0.00   # of days in cycle: 31
Service fees                                                                   -0.00   Average ledger balance: $0.17
Ending balance on October 31, 2020                                            $0.17    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 51 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: GA                                                                    Page 1 of 4
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                            Your checking account
AREU STUDIOS, LLC ! Account #             6559 ! October 1, 2020 to October 31, 2020




Service fees
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 09/30/20. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
      $2,500+ in new net purchases on a linked Business credit card

      $15,000+ average monthly balance in primary checking account

      $35,000+ combined average monthly balance in linked business accounts

      active use of Bank of America Merchant Services

      active use of Payroll Services

      enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship Rewards
please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.




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Daily ledger balances
Date                            Balance ($)

10/01                                0.17




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P.O. Box 15284
Wilmington, DE 19850
                                                                                                 Customer service information


                                                                                                 1.888.BUSINESS (1.888.287.4637)

                                                                                                 bankofamerica.com
  AREU STUDIOS, LLC
                                                                                                 Bank of America, N.A.
  3133 CONTINENTAL COLONY PKWY SW
                                                                                                 P.O. Box 25118
  ATLANTA, GA 30331-3109                                                                         Tampa, FL 33622-5118




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for November 1, 2020 to November 30, 2020                                                  Account number:                         6559
AREU STUDIOS, LLC

Account summary
Beginning balance on November 1, 2020                                          $0.17   # of deposits/credits: 0
Deposits and other credits                                                      0.00   # of withdrawals/debits: 0
Withdrawals and other debits                                                   -0.00   # of items-previous cycle¹: 0
Checks                                                                         -0.00   # of days in cycle: 30
Service fees                                                                   -0.00   Average ledger balance: $0.17
Ending balance on November 30, 2020                                           $0.17    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 51 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: GA                                                                    Page 1 of 6
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AREU STUDIOS, LLC ! Account #           6559 ! Document          Page
                                                November 1, 2020 to      48 of
                                                                    November 30, 66
                                                                                 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                              Your checking account
AREU STUDIOS, LLC ! Account #              6559 ! November 1, 2020 to November 30, 2020




Service fees
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 10/30/20. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
      $2,500+ in new net purchases on a linked Business credit card

      $15,000+ average monthly balance in primary checking account

      $35,000+ combined average monthly balance in linked business accounts

      active use of Bank of America Merchant Services

      active use of Payroll Services

      enrolled in Preferred Rewards for Business

For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please call
1.888.BUSINESS or visit bankofamerica.com/smallbusiness.




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                                                                                    2020




Daily ledger balances
Date                            Balance ($)

11/01                                0.17




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Important Messages - Please Read
We want to make sure you stay up-to-date on changes, reminders, and other important details that
could impact you.

The information shown below lists changes that may apply to your Small Business checking and savings accounts
and when these changes will become effective. You will also see some changes to the options you have to avoid the
Monthly Fee on your accounts.

Account Changes                                                   Effective Date            What to Expect After the Changes Become Effective


Business Advantage Checking will become Business                 February 19, 2021   You will see the new name on your statements, in Mobile banking and in
Advantage Relationship Banking.                                                      Business Advantage 360, our small business online banking.


Business Advantage Relationship Banking                          Account statement To avoid the Monthly Fee, meet any ONE of the following requirements
                                                                  cycles on or after during each statement cycle:
The Monthly Fee of $29.95 will no longer be waived based on:      January 30, 2021 · Maintain a combined average monthly balance of $15,000 or more in
                                                                                       your linked Bank of America business deposit accounts. Previously, the
· $15,000 average monthly balance.                                                     combined average monthly balance requirement was $35,000.
· Active payroll services usage with Intuit or ADP Payroll                           · Qualify for and enroll in Preferred Rewards for Business (Footnote 2)
  Services (Footnote 1) beginning December 1, 2020.                                    (first four checking accounts per enrolled business).
· Spend $2,500 in new net purchases on a linked business
                                                                                     Please review the Business Schedule of Fees for the state in which you
  credit card.
                                                                                     opened your account for additional details about the ways to avoid the
· Active Bank of America Merchant Services account linked to
                                                                                     Monthly Fee at: bankofamerica.com/businessfeesataglance.
  a Bank of America settlement account beginning January 1,
  2021.


Business Fundamentals Checking will become Business              February 19, 2021   You will see the new name on your statements, in Mobile banking and in
Advantage Fundamentals Banking.                                                      Business Advantage 360, our small business online banking.



Business Advantage Fundamentals Banking                          Account statement Depending on the state in which your account was opened, the $16
                                                                  cycles on or after Monthly Fee may be a decrease, increase or remain unchanged.
Monthly Fee will be $16 in all states. (Previously the monthly    January 30, 2021 To avoid the Monthly Fee, meet any ONE of the following
fee varied by state).                                                                requirements during each statement cycle:
                                                                                     · Maintain a combined average monthly balance of $5,000 or more in
The Monthly Fee will no longer be waived based on:                                     your linked Bank of America deposit accounts. Previously the
                                                                                       combined average monthly balance requirement was $15,000.
· $3,000 minimum daily balance.                                                      · Spend $250 or more in new net purchases on a linked business debit
· $5,000 average monthly balance.                                                      card.
· Spend $250 or more in new net purchases on a linked                                · Qualify for and enroll in Preferred Rewards for Business (first four
  business credit card.                                                                checking accounts per enrolled business).
                                                                                     Please review the Business Schedule of Fees for the state in which you
                                                                                     opened your account for additional details about the ways to avoid the
                                                                                     Monthly Fee at: bankofamerica.com/businessfeesataglance.


Business Investment Account                                      February 19, 2021   If you already have a Business Investment Account linked and included
                                                                                     in your Business Advantage Fundamentals Banking relationship before
The Monthly Fee of $5 will no longer be waived by being                              February 19, 2021, it will remain and will not receive a Monthly Fee
linked and included in a Business Advantage Fundamentals                             while included.
Banking relationship.
                                                                                     Note: Business Investment Accounts can be linked to your Business
                                                                                     Advantage Fundamentals Banking relationship to help meet the
                                                                                     combined balance requirement to avoid the Monthly Fee.




                                                                                                           Continued on next page

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Excess Transactions Fee and Deposited Item Fee                Account statement For more information about any fees that may apply to business
                                                               cycles on or after accounts, review the Business Schedule of Fees for the state in which
These fees will no longer apply to deposits made using Remote January 30, 2021 you opened your account at bankofamerica.com/businessfeesataglance.
Deposit Online, Mobile Check Deposit, or at a Bank of America
ATM.


Business Advantage Savings                                    Account statement To avoid the Monthly Fee, meet any ONE of the following requirements
                                                               cycles on or after during each statement cycle:
The Monthly Fee is decreasing from $15 to $10.                 January 30, 2021
                                                                                  · Maintain a minimum daily balance of $2,500 or more in your account.
                                                                                    Previously, the minimum daily balance was $5,000.
                                                                                  · Include in your Business Advantage Relationship Banking solution (one
                                                                                    per checking solution).
                                                                                  · Qualify for and enroll in Preferred Rewards for Business (first four
                                                                                    savings accounts, per enrolled business).

We are here to help
For more information about these changes and other fees that may apply to your accounts, visit your nearby financial center or review the
Business Schedule of Fees for the state in which you opened your account at bankofamerica.com/businessfeesataglance.
Please let us know if you have any questions about these changes or would like to discuss how you may be able to reduce or waive some of
these fees by converting your account to another account type. You can stop by a financial center, make an appointment at
bankofamerica.com/bizappointment, or give us a call at the number listed on this statement.
En los próximos meses, verá cambios en algunos cargos por servicios que podrían aplicarse a sus cuentas de cheques, de ahorros y de
Certificados de Depósito (CD) para Pequeñas Empresas. Antes de que entren en vigencia, nos gustaría explicarle qué cargos cambiarán y
cuándo lo harán, y también informarle los pasos que puede tomar para evitar algunos de ellos.
Para obtener más información, visite un centro financiero de Bank of America.
Footnotes are spelled out so the text can be translated by vision disability screen reader programs.
(Footnote 1) Intuit and the Intuit logo are registered trademarks of Intuit Inc., used under license. ADP and the ADP logo are registered
trademarks of ADP, LLC, used under license. Bank of America does not deliver and is not responsible for the products, services or
performance of Intuit Inc. or ADP, LLC. Internet access may be required. Internet service provider fees may apply. Other bank fees may apply.
See the Business Schedule of Fees available at bankofamerica.com/businessfeesataglance for details. Bank of America and/or its affiliates or
service providers may receive compensation from third parties for clients' use of their services.
(Footnote 2) The Preferred Rewards for Business program is only available to Small Business, Merrill Small Business, and Bank of America
Private Bank® Small Business clients. Other categories of clients, such as those commonly referred to as Business Banking, Global Commercial
Banking, Global Corporate Investment Banking, or Institutional clients are not eligible to participate in the program. Subject to certain
exceptions, eligible business checking accounts generally are any Small Business checking account and the following Analyzed checking
accounts: Full Analysis Business Checking or Analyzed Business Interest Checking. Clients in the eligible business categories may enroll in the
program. To enroll you must have an active, eligible Bank of America business checking account, and maintain a qualifying balance of at least
$20,000 for the Gold tier, $50,000 for the Platinum tier, or $100,000 for the Platinum Honors tier in your combined qualifying Bank of
America business deposit accounts (such as checking, savings, certificate of deposit) and/or your Merrill business investment accounts (such
as Working Capital Management Accounts, Business Investor Accounts, Delaware Business Accounts). The qualifying balance is calculated
based on either (i): your average daily balance for a three calendar month period, or (ii) your current combined balance, provided that you enroll
at the time you open your first eligible business checking account and satisfy the balance requirement at the end of at least one day within
thirty days of opening that account. Refer to your Business Schedule of Fees for details on accounts that qualify towards the combined
balance calculation and receive program benefits. Eligibility to enroll is generally available three or more business days after the end of the
calendar month in which you satisfy the requirements. Bank of America Private Bank® Small Business clients are automatically enrolled in the
program at the Platinum Honors tier as long as you maintain your Bank of America Private Bank® relationship. Once you are no longer a client
of the Private Bank, your enrollment in Preferred Rewards for Business will end and the benefits from enrollment will no longer be provided.
You can continue to receive Preferred Rewards for Business benefits if you are eligible for the program and you take action to enroll. Benefits
become effective within 30 days of your enrollment, or for new accounts within 30 days of account opening, unless we indicate otherwise.
Certain benefits may be available without enrolling in the program if you satisfy balance and other requirements.




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                                             ATTACHMENT 4B

              MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT N/A

Name of Debtor: Areu Studios, LLC                               Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                            Period ending 11/30/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
A standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm.

NAME OF BANK:                                             BRANCH:

ACCOUNT NAME:                                            ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:                     PAYROLL

        Ending Balance per Bank Statement                                       $
         Plus Total Amount of Outstanding Deposits                              $
         Minus Total Amount of Outstanding Checks and other debits              $                        *
         Minus Service Charges                                                  $
        Ending Balance per Check Register                                       $                        **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized
by United States Trustee)

Date        Amount             Payee                  Purpose          Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

Date      Amount            Payee           Purpose                    Reason for disbursement from this
                                                                       account

_____
_____
_____

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                 ATTACHMENT 5B
                        CHECK REGISTER - PAYROLL ACCOUNT                      N/A


Name of Debtor: Areu Studios, LLC                       Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                   Period ending 11/30/2020

NAME OF BANK:                                           BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                    PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE    NUMBER             PAYEE                        PURPOSE                         AMOUNT




TOTAL                                                                               $



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                                              ATTACHMENT 4C

                     MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT                               N/A

Name of Debtor: Areu Studios, LLC                                Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                             Period ending 11/30/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
http://www.usdoj.gov/ust/r21/index.htm.

NAME OF BANK:                                        BRANCH:

ACCOUNT NAME:                                        ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                   TAX

        Ending Balance per Bank Statement                         $
         Plus Total Amount of Outstanding Deposits                $
         Minus Total Amount of Oustanding Checks and other debits $                          *
         Minus Service Charges                                    $
        Ending Balance per Check Register                         $                           **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized by
                                                   United States Trustee)
Date      Amount            Payee               Purpose                Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date      Amount              Payee                Purpose             Reason for disbursement from this account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                       ATTACHMENT 5C

                            CHECK REGISTER - TAX ACCOUNT N/A


Name of Debtor: Areu Studios, LLC                           Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                       Period ending 11/30/2020

NAME OF BANK:                                           BRANCH:

ACCOUNT NAME:                                           ACCOUNT #

PURPOSE OF ACCOUNT:                    TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.
http://www.usdoj.gov/ust.
          CHECK
DATE NUMBER               PAYEE                  PURPOSE                            AMOUNT




TOTAL                                                                                             (d)
                                  SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                              (a)
Sales & Use Taxes Paid                                                                          (b)
Other Taxes Paid                                                                                (c)
TOTAL                                                                                 _________ (d)


(a) This number is reported in the “ Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5O).
(b) This number is reported in the “ Current Month” column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).
(c) This number is reported in the “ Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.




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                                     ATTACHMENT 4D

                INVESTMENT ACCOUNTS AND PETTY CASH REPORT                          N/A

                             INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable
                                                                                  Current
Instrument            Face Value        Purchase Price     Date of Purchase       Market Value




TOTAL                                                                                          (a)
                                   PETTY CASH REPORT N/A

The following Petty Cash Drawers/Accounts are maintained:

                      (Column 2)             (Column 3)               (Column 4)
                      Maximum                Amount of Petty    Difference between
Location of           Amount of Cash         Cash On Hand (Column 2) and
Box/Account           in Drawer/Acct.        At End of Month    (Column 3)




TOTAL                                        $                 (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                          $                    (c)


(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).



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                                      ATTACHMENT 6

                                 MONTHLY TAX REPORT

Name of Debtor: Areu Studios, LLC                         Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                     Period ending 11/30/2020

                                  TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of               Date                                          Date Last
Taxing                Payment                                       Tax Return      Tax Return
Authority             Due          Description          Amount        Filed           Period




TOTAL                                               $




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                                                 ATTACHMENT 7

                           SUMMARY OF OFFICER OR OWNER COMPENSATION

                       SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor: Areu Studios, LLC                             Case Number: 20-71228-PMB

Reporting Period beginning 10/29/2020                         Period ending 11/30/2020

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.
                                                       Payment
Name of Officer or Owner             Title             Description                      Amount Paid




                                              PERSONNEL REPORT
                                                                          Full Time          Part Time
Number of employees at beginning of period                                  8
                                                                          _________               0
                                                                                            _________
Number hired during the period                                              -                     -
Number terminated or resigned during period                                 -                     -
Number of employees on payroll at end of period                             8                     0

                                       CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

Agent                                                                                                Date
and/or                     Phone              Policy            Coverage            Expiration       Premium
Carrier                    Number             Number            Type                Date             Due

See attached


                                                                                                     __________

The following lapse in insurance coverage occurred this month:

Policy            Date              Date
Type              Lapsed            Reinstated         Reason for Lapse




⁪ Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.


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                                                                                              Date
                                 Phone        Policy                              Expiration Premium
Agent and/or Carrier             Number       Number       Coverage Type          Date        Due
USI Insurance Services, LLC CL   470‐428‐9771   6072832096 Property                 12/6/2021
                                                           Commercial General
USI Insurance Services, LLC CL   470‐428‐9771   7011985566 Liability               12/6/2021
USI Insurance Services, LLC CL   470‐428‐9771   6075831980 Auto Liability          12/6/2021
USI Insurance Services, LLC CL   470‐428‐9771   6075831994 Umbrella Liability      12/6/2021
USI Insurance Services, LLC CL   470‐428‐9771   6072832101 Workers Compensation    12/6/2021
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                                                                                                                                               DATE (MM/DD/YYYY)
  ACORD             TM                        EVIDENCE OF PROPERTY INSURANCE                                                                   12/03/2020
 THIS EVIDENCE OF PROPERTY INSURANCE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE
 ADDITIONAL INTEREST NAMED BELOW. THIS EVIDENCE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE
 COVERAGE AFFORDED BY THE POLICIES BELOW. THIS EVIDENCE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE
 ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE ADDITIONAL INTEREST.
AGENCY                           PHONE                                            COMPANY
                                 (A/C, No, Ext):     470-428-9771
USI Insurance Services, LLC CL                                                    Continental Casualty Company

1 Concourse Pkwy NE                                                               151 N. Franklin Street

Suite 700                                                                         Chicago, IL 60606

Atlanta, GA 30328
FAX                         E-MAIL
(A/C, No):                  ADDRESS: lauren.cunningham@usi.com
CODE:                                   SUB CODE:
AGENCY
CUSTOMER ID #:    1721988
INSURED                                                                           LOAN NUMBER                                  POLICY NUMBER
             Good Deed 317, LLC
             2796 Continental Colony Parkway SW                                   00369                                         6072832096
                                                                                     EFFECTIVE DATE          EXPIRATION DATE
             Atlanta, GA 30331                                                                                                          CONTINUED UNTIL
                                                                                      12/06/20               12/06/21                   TERMINATED IF CHECKED
                                                                                  THIS REPLACES PRIOR EVIDENCE DATED:



PROPERTY INFORMATION
LOCATION/DESCRIPTION
RE: 2796 Continental Colony Parkway SW, Atlanta, GA 30331




THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
EVIDENCE OF PROPERTY INSURANCE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS
SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
COVERAGE INFORMATION                           PERILS INSURED            BASIC    BROAD            SPECIAL       X Special
                                                     COVERAGE/PERILS/FORMS                                              AMOUNT OF INSURANCE         DEDUCTIBLE

Blanket Building                                                                                                        $30,452,000              $50,000
Blanket Business Personal Property                                                                                      $1,000,000               $50,000
Blanket Business Income & Extra Expense                                                                                 $4,600,000               24 hours
Cause of Loss: Special
Valuation: Replacement Cost




REMARKS (Including Special Conditions)




CANCELLATION
     SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE
     DELIVERED IN ACCORDANCE WITH THE POLICY PROVISIONS.
ADDITIONAL INTEREST
NAME AND ADDRESS                                                                     ADDITIONAL INSURED      LENDER'S LOSS PAYABLE             LOSS PAYEE
                 LV Lending LLC, a Florida Limited                               X   MORTGAGEE
                 Liability Company,                                              LOAN #   00369
                 ISAOA, ATIMA
                 175 SW 7th Street, Suite 2101                                   AUTHORIZED REPRESENTATIVE

                 Miami, FL 33130

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                                                         The ACORD name and logo are registered marks of ACORD
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    ACORD                                                         Document     Page 63 of 66                                                                   DATE (MM/DD/YYYY)
                     TM            CERTIFICATE OF LIABILITY INSURANCE                                                                                           12/03/2020
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer any rights to the certificate holder in lieu of such endorsement(s).
                                                                                           CONTACT
PRODUCER                                                                                   NAME:       Lauren Cunningham
USI Insurance Services, LLC CL                                                             PHONE                                                  FAX
                                                                                           (A/C, No, Ext): 470-428-9771                           (A/C, No):
1 Concourse Pkwy NE                                                                        E-MAIL
                                                                                           ADDRESS: lauren.cunningham@usi.com
Suite 700                                                                                                        INSURER(S) AFFORDING COVERAGE                              NAIC #
Atlanta, GA 30328                                                                          INSURER A :   Valley Forge Insurance Company                               20508
INSURED                                                                                    INSURER B :   Continental Insurance Company                                35289
              Good Deed 317, LLC                                                                         Transportation Insurance Company                             20494
                                                                                           INSURER C :
              2796 Continental Colony Parkway SW
                                                                                           INSURER D :
              Atlanta, GA 30331
                                                                                           INSURER E :

                                                                                           INSURER F :
COVERAGES                                   CERTIFICATE NUMBER:                                                                REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                             ADDL SUBR                                         POLICY EFF   POLICY EXP
LTR              TYPE OF INSURANCE               INSR WVD              POLICY NUMBER              (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS

A       X   COMMERCIAL GENERAL LIABILITY                     7011985566                           12/06/2020 12/06/2021         EACH OCCURRENCE                 $ 1,000,000
                                                                                                                                DAMAGE TO RENTED
               CLAIMS-MADE     X   OCCUR                                                                                        PREMISES (Ea occurrence)        $ 500,000

                                                                                                                                MED EXP (Any one person)        $ 15,000

                                                                                                                                PERSONAL & ADV INJURY           $ 1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                       GENERAL AGGREGATE               $ 2,000,000
                      PRO-
        X POLICY      JECT          LOC                                                                                         PRODUCTS - COMP/OP AGG          $ 2,000,000

            OTHER:                                                                                                                                              $
                                                                                                                                COMBINED SINGLE LIMIT
B      AUTOMOBILE LIABILITY                                  6075831980                           12/06/2020 12/06/2021         (Ea accident)                   $ 1,000,000
        X   ANY AUTO                                                                                                            BODILY INJURY (Per person)      $
            OWNED              SCHEDULED                                                                                        BODILY INJURY (Per accident) $
            AUTOS ONLY         AUTOS
            HIRED              NON-OWNED                                                                                        PROPERTY DAMAGE                 $
            AUTOS ONLY         AUTOS ONLY                                                                                       (Per accident)
                                                                                                                                                                $

B       X   UMBRELLA LIAB     X    OCCUR                     6075831994                           12/06/2020 12/06/2021         EACH OCCURRENCE                 $ 5,000,000
            EXCESS LIAB            CLAIMS-MADE                                                                                  AGGREGATE                       $ 5,000,000

              DED      X RETENTION $10,000                                                                                                                      $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
C      AND EMPLOYERS' LIABILITY
                                                             6072832101                           12/06/2020 12/06/2021 X              STATUTE         ER
                                           Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                         E.L. EACH ACCIDENT              $ 1,000,000
       OFFICER/MEMBER EXCLUDED?             N N/A
       (Mandatory in NH)                                                                                                        E.L. DISEASE - EA EMPLOYEE $ 1,000,000
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                          E.L. DISEASE - POLICY LIMIT     $ 1,000,000




DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Loc# 1 - 2796 Continental Colony Parkway SW; Atlanta, GA




CERTIFICATE HOLDER                                                                         CANCELLATION

                                                                                             SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                LV Lending LLC, a Florida                                                    THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                Limited Liability Company,                                                   ACCORDANCE WITH THE POLICY PROVISIONS.
                ISAOA, ATIMA
                175 SW 7th Street, Suite 2101                                              AUTHORIZED REPRESENTATIVE

                Miami, FL 33130

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ACORD 25 (2016/03)      1 of 1              The ACORD name and logo are registered marks of ACORD
        #S30551589/M30551560                                                                                                                 LZCKA
            Case 20-71228-pmb              Doc 46    Filed 12/15/20 Entered 12/15/20 17:34:43   Desc Main
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Case 20-71228-pmb             Doc 46      Filed 12/15/20 Entered 12/15/20 17:34:43                         Desc Main
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                                                  ATTACHMENT 8


                     SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management,
etc. Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before                                  .




                                                        MOR-16
Case 20-71228-pmb       Doc 46    Filed 12/15/20 Entered 12/15/20 17:34:43          Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                   CHAPTER 11
 AREU STUDIOS, LLC,
                                                   CASE NO. 20-71228-PMB
          Debtor.

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the date indicated below a true and correct copy of the
foregoing monthly operating report was served via the Bankruptcy Court’s Electronic Case Filing
program, which sends a notice of and accompanying link to the pleading to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing Program:

   •   Matthew R. Brooks matthew.brooks@troutmansanders.com
   •   Henry F. Sewell hsewell@sewellfirm.com, hsewell123@yahoo.com
   •   Shawna Staton shawna.p.staton@usdoj.gov
   •   Thomas R. Walker thomas.walker@fisherbroyles.com

       This 15th day of December, 2020.

                                           JONES & WALDEN LLC

                                           /s/ Cameron M. McCord
                                           Cameron M. McCord
                                           Georgia Bar No. 143065
                                           cmccord@joneswalden.com
                                           699 Piedmont Avenue, NE
                                           Atlanta, Georgia 30308
                                           (404) 564-9300 Telephone
                                           (404) 564-9301 Facsimile
                                           Attorney for Debtor




                                              2
